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                    UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA

RECO ARMSTEAD, CLIFFORD                        :
BRIGGS, ELLIOT BROOME,                         :   CIVIL ACTION FILE NO.
ANDREW SMITH, onġbehalf of                     :
themselves and all those persons               :
similarly situated who consent to              :
representation,                                :     FLSA COLLECTIVE
                                               :         ACTION
      Plaintiffs,                              :
                                               :
vs.                                            :   JURY TRIAL DEMANDED
                                               :
LAZER SPOT, INC.,                              :

      Defendant.

                                   COMPLAINT

      Plaintiffs file this action against Lazer Spot, Inc. ("Lazer Spot"), on behalf of

themselves and all other current and former employees who are similarly situated

who consent to join as Plaintiffs under the Fair Labor Standards Act, 29 U.S.C. §

201, et seq. (“FLSA”), for unpaid overtime compensation, liquidated damages, and

reasonable costs of litigation, including attorneys’ fees.

                          JURISDICTION AND VENUE

                                          1.

      This Court has jurisdiction under 28 U.S.C. §§ 1331 and §1337 and 29

U.S.C. § 216(b).
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                                         2.

      Venue is appropriate in this judicial district under 28 U.S.C. §1391.

                                    PARTIES

                                         3.

      Plaintiff Reco Armstead resides in Conyers, Georgia, and during the relevant

period was employed by Lazer Spot as a "spotter" within the Northern District of

Georgia.

                                         4.

      Plaintiff Clifford Briggs resides in Stone Mountain, Georgia, and during the

relevant period was employed by Lazer Spot as a "spotter" within the Northern

District of Georgia.

                                         5.

      Plaintiff Elliott Broome resides in Atlanta, Georgia, and during the relevant

period was employed by Lazer Spot as a "spotter" within the Northern District of

Georgia.

                                         6.

      Plaintiff Andrew Smith Elliott Broome resides in Covington, Georgia, and

during the relevant period was employed by Lazer Spot as a "spotter" within the

Northern District of Georgia.
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                                           7.

     Lazer Spot is a Georgia corporation, which, according to its website

(www.lazerspot.com), is engaged in the business of "third-party yard management

services." Essentially, Lazer Spot is in the business of managing the storage and

movement of product inventory at various distribution and manufacturing

facilities. Lazer Spot employees over 1300 employees at 180 "yard management"

locations in 27 states, including locations within this judicial district, all of which

are an interrelated and integrated enterprise with centralized control.

                                           8.

      Lazer Spot's centralized control over its operating locations extends to all

material aspects of the employer-employee relationship, including decisions

regarding compensation, job classification, duties, responsibilities, qualifications,

training and recruiting.

                                           9.

      Lazer Spot is subject to the jurisdiction of this Court, and may be served

with process through its registered agent, Corporation Service Company, 40

Technology Parkway South, Suite 300, Norcross, Georgia 30092.
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                              CAUSES OF ACTION

            COUNT I - FLSA CLAIMS FOR UNPAID OVERTIME

                                  (by all Plaintiffs)

                                         10.

      Plaintiffs bring this suit as a collective action on behalf of themselves and all

other similarly situated employees who consent to representation, pursuant to 29

U.S.C. §216(b). Each Plaintiff consents to the filing of this action as shown in the

consent forms attached hereto and collectively marked Exhibit 1. Plaintiffs

anticipate that other current and former employees who Lazer Spot employed as a

spotter from December 13, 2008 to present (the "relevant period") will elect to

“opt-in” to this litigation pursuant to 29 U.S.C. § 216(b).

                                         11.

      Lazer Spot is an employer within the meaning of FLSA § 203(d), and is not

an exempt employer under the FLSA.

                                         12.

      Lazer Spot and its employees who have held the position of spotter were and

are engaged in interstate commerce expressly covered by the protections of the

FLSA, 29 U.S.C. § 207(a).
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                                          13.

      During the relevant period, each of Plaintiffs was empoyed by Lazer Spot as

a "spotter."

                                          14.

      During the relevant period, Lazer Spot employed hundreds of spotters who

performed substantially similar job duties as Plaintiffs.

                                          15.

      Plaintiffs and similarly situated other spotters were and are compensated for

their services on an hourly wage basis.

                                          16.

      Lazer Spot required Plaintiffs and similarly situated other spotters to clock in

and out of work.

                                          17.

      Plaintiffs' job duties as spotters involved moving trailers from one

warehouse door to another at one of Lazer Spot's yards, and did not involve over-

the-road driver duties.

                                          18.

      Knowing that Plaintiffs are not over-the-road drivers, Lazer Spot

nonetheless intentionally and falsely categorized them and similarly-situated other
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spotters as over-the-road drivers who were exempt from the overtime provisions of

the FLSA.

                                          19.

      There are numerous current or former employees of Lazer Spot, including

Plaintiffs, who, during the relevant period, have held the position of spotter and

whom Lazer Spot improperly classified as exempt from overtime while employed

in that position.

                                          20.

      Plaintiffs and similarly-situated other spotters routinely worked hours over

40 per work week, for which overtime hours Lazer Spot did not compensate them

on the basis of at least one and one half times their regular rate of pay.

                                          21.

      Upon information and belief, Lazer Spot did not compensate similarly

situated other spotters for hours worked in excess of 40 hours per workweek on the

basis of one and one-half times their regular rate of pay.

                                          22.

      At all times relevant, as to Plaintiffs and other similarly situated Lazer Spot

employees who were spotters, Lazer Spot failed to meet the requirements for any

of the exemptions from the overtime compensation requirements of the Fair Labor
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Standards Act under 29 U.S.C. § 207.

                                           23.

      Lazer Spot's compensation plan failed (and continues to fail) to compensate

Plaintiffs and other spotters for time worked in excess of 40 hours per week, and

therefore violates § 207 of the Fair Labor Standards Act of 1938, as amended. Such

violation was and is intentional, willful and/or reckless.

                                           24.

      Lazer Spot is liable to Plaintiffs and all other similarly situated Lazer Spot

employees who choose to consent to representation in this case for compensation

for any and all hours worked in excess of 40 hours per week at the rate of at least

one and one-half times theire regular hourly rate.

                                           25.

      Lazer Spot’s failure to pay overtime was and is intentional and willful, so

that the three-year statute of limitations applies to this action.

                                           26.

      Plaintiffs and all similarly situated Lazer Spot employees who choose to

consent to representation in this case are entitled to liquidated damages equaling an

additional 100% of the overtime payment due them as a result of the above alleged

violations of the FLSA.
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                                          27.

      Plaintiffs and all similarly situated Lazer Spot employees who choose to

consent to representation in this case are entitled to prejudgment interest on their

unpaid overtime through the date of trial as a result of the above alleged violations

of the FLSA.

                                          28.

      Plaintiffs and all similarly situated Lazer Spot employees who choose to

consent to representation in this case are entitled to an award of costs, including

reasonable attorneys' fees, as a result of the above alleged violations of the FLSA.

                                          29.

      Plaintiffs and all similarly situated Lazer Spot employees who choose to

consent to representation in this case are entitled in the Court=s discretion to

injunctive and other equitable relief available under the FLSA, or other applicable

law, to remedy and enjoin Lazer Spot's violations of the FLSA.
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                      COUNT II - VIOLATION OF ADAAA

                                (Plaintiff Armstead)

                                          30.

      Plaintiff Recco Armstead filed a Charge of Discrimination with the United

States Equal Employment Opportunity Commission (AEEOC@), asserting claims

under The Americans With Disabilities Act Amendments Act of 2008, 42 U.S.C.

§§ 12101, et seq. A true and accurate copy of the Charge is attached as Exhibit 2.

The EEOC has not yet issued a dismissal and notice of rights, or "right-to-sue"

letter. Plaintiff Armstead will seek leave to amend this complaint to assert claims

under Title VII of the Civil Rights Act of 1964, 42 U.S.C. '' 2000e, et seq., upon

his receipt of the EEOC dismissal and notice of rights, or "right-to-sue letter," but

files this action prior thereto in order to timely file, and otherwise properly

preserve, all claims pled herein.

      WHEREFORE, the Plaintiffs pray that this Court:

(i) Take jurisdiction of this matter;

(ii) Exercise its discretion to publish appropriate notice of Plaintiffs’ claims to

similarly situated individuals who have been employed by Lazer Spot during the

relevant period;

(iii) Award to Plaintiffs and each current or former Lazer Spot employee who
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hereafter consents to join this case compensation for each overtime hour he or she

worked, calculated at one and one-half times the normal hourly rate, liquidated

damages equaling an additional 100% of overtime due, prejudgment interest on

their unpaid overtime from the date of Lazer Spot's failure to pay overtime to the

time of trial, and all costs of litigation and reasonable attorney’s fees;

(iv) A trial by jury on all issues so triable; and

(v) Such other and further relief this Court deems just, equitable and proper.

Dated: December 13, 2011

                                  BROWNSTEIN NGUYEN & LITTLE LLP

                                  Jay D. Brownstein
                                  Georgia Bar No. 002590
                                  2010 Montreal Road
                                  Tucker, Georgia 30084
                                  (770/458-9060)

                                  Kevin S. Little
                                  Kevin S. Little
                                  Georgia Bar No. 454225
                                  400 Colony Square, Suite 200
                                  1201 Peachtree Street NE
                                  Atlanta, Georgia 30361
                                  (404/921-4040)

                                  Counsel for Plaintiffs
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           EXHIBIT 1
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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
___________________________________
                                     )
RECO ARMSTEAD, et al.                )
                                     )
     Plaintiffs,                     )    CIVIL ACTION
                                     )
- v-                                 )
                                     )
LAZER SPOT, INC.,                    )
                                     )    JURY TRIAL DEMANDED
                                     )
     Defendant.                      )
___________________________________ )

           CONSENT TO FILING OF CLAIMS FOR OVERTIME
             UNDER THE FAIR LABOR STANDARDS ACT

      I, Reco Armstead, was an employee of Lazer Spot, Inc. I held the position

of "spotter." Lazer Spot, Inc. did not pay me overtime and/or minimum wages as

required by the Fair Labor Standards Act ("FLSA"). I hereby consent to

participate as a party plaintiff and assert my claims in this action against Lazer

Spot, Inc. and/or related entities and individuals pursuant to 29 U.S.C. ' 216(b) on

my own behalf, and on behalf of all others similarly situated.
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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
___________________________________
                                     )
RECO ARMSTEAD, et al.                )
                                     )
     Plaintiffs,                     )    CIVIL ACTION
                                     )
- v-                                 )
                                     )
LAZER SPOT, INC.,                    )
                                     )    JURY TRIAL DEMANDED
                                     )
     Defendant.                      )
___________________________________ )

           CONSENT TO FILING OF CLAIMS FOR OVERTIME
             UNDER THE FAIR LABOR STANDARDS ACT

      I, Clifford Briggs, was an employee of Lazer Spot, Inc. I held the position

of "spotter." Lazer Spot, Inc. did not pay me overtime and/or minimum wages as

required by the Fair Labor Standards Act ("FLSA"). I hereby consent to

participate as a party plaintiff and assert my claims in this action against Lazer

Spot, Inc. and/or related entities and individuals pursuant to 29 U.S.C. ' 216(b) on

my own behalf, and on behalf of all others similarly situated.
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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
___________________________________
                                     )
RECO ARMSTEAD, et al.                )
                                     )
     Plaintiffs,                     )    CIVIL ACTION
                                     )
- v-                                 )
                                     )
LAZER SPOT, INC.,                    )
                                     )    JURY TRIAL DEMANDED
                                     )
     Defendant.                      )
___________________________________ )

           CONSENT TO FILING OF CLAIMS FOR OVERTIME
             UNDER THE FAIR LABOR STANDARDS ACT

      I, Elliot Broome, was an employee of Lazer Spot, Inc. I held the position of

"spotter." Lazer Spot, Inc. did not pay me overtime and/or minimum wages as

required by the Fair Labor Standards Act ("FLSA"). I hereby consent to

participate as a party plaintiff and assert my claims in this action against Lazer

Spot, Inc. and/or related entities and individuals pursuant to 29 U.S.C. ' 216(b) on

my own behalf, and on behalf of all others similarly situated.
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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
___________________________________
                                     )
RECO ARMSTEAD, et al.                )
                                     )
     Plaintiffs,                     )    CIVIL ACTION
                                     )
- v-                                 )
                                     )
LAZER SPOT, INC.,                    )
                                     )    JURY TRIAL DEMANDED
                                     )
     Defendant.                      )
___________________________________ )

           CONSENT TO FILING OF CLAIMS FOR OVERTIME
             UNDER THE FAIR LABOR STANDARDS ACT

      I, Andrew Smith, was an employee of Lazer Spot, Inc. I held the position of

"spotter." Lazer Spot, Inc. did not pay me overtime and/or minimum wages as

required by the Fair Labor Standards Act ("FLSA"). I hereby consent to

participate as a party plaintiff and assert my claims in this action against Lazer

Spot, Inc. and/or related entities and individuals pursuant to 29 U.S.C. ' 216(b) on

my own behalf, and on behalf of all others similarly situated.
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           EXHIBIT 2
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                          BROWNSTEIN NGUYEN & LITTLE LLP
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Atlanta, Georgia 30361
                                                                                                        Augusta office:
KEVIN S. LITTLE, P.C.                                                                      16 Ninth Street at Riverwalk
ksl@bnllawfirm.com                                                                             Augusta, Georgia 30903


                                               December 12, 2011

      VIA Facsimile (404.562.6910) and
      Priority Mail

      Attn: Barry Brown, Supervisor of Intake
      U.S. Equal Employment Opportunity Commission, Intake Unit
      Atlanta Division
      100 Alabama Street, S.W.
      Suite 4R-30
      Atlanta, Georgia 30303

                Re:      Charge of Discrimination of Reco Armstead
                         against Lazer Spot, Inc.

      Dear Madam or Sir:

               This law firm represents the above-named charging party in reference to a Charge of
      Discrimination. Enclosed is the original Charge of Discrimination and a duplicate copy. Please
      file the original, and return the duplicate charge stamped “filed,” bearing the filing date, in the
      enclosed envelope with the assigned charge number and investigator.

             Should you need any further information, please do not hesitate to contact me. Thank
      you for your assistance.

                                                                     Sincerely,

                                                                     /s/ Kevin S. Little

                                                                     Kevin S. Little

      encl.
      cc:
                Reco Armstead
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